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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )                 8:15CR178
                                             )
       vs.                                   )                   ORDER
                                             )
JOHN ACOSTA,                                 )
                                             )
                     Defendant.              )


       This matter is before the court on the motion of defendant John Acosta for the court
to amend the defendant’s conditions of release to allow him to attend an event in Honolulu,
Hawaii (Filing No. 251). The motion will be granted.
       The Motion to Amend Release Conditions (Filing No. 251) is granted. The
defendant’s conditions of release are amended to allow the defendant to travel to Honolulu,
Hawaii between November 4 and 6, 2017.


       IT IS SO ORDERED.


       DATED this 26th day of October, 2017.


                                                 BY THE COURT:


                                                 s/ Susan M. Bazis
                                                 United States Magistrate Judge
